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                                                                                      U.S. BANKRUPTCY COURT
                                                                                   NORTHERN DISTRICT OF TEXAS


                                                                                       ENTERED
                                                                                    TAWANA C. MARSHALL, CLERK
                                                                                       THE DATE OF ENTRY IS
                                                                                      ON THE COURT'S DOCKET



The following constitutes the ruling of the court and has the force and effect therein described.



 Signed April 23, 2014
______________________________________________________________________



                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                )
     In re                                      ) Chapter 15
                                                )
     MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                                )
                Debtor in a Foreign Proceeding. )
                                                )

                        ORDER GRANTING ADJOURNMENT AND RESETTING
                                  OF STATUS CONFERENCE

             Upon the Debtor’s Motion to Adjourn and Reset Status Conference [Dkt. No. 98] (the

     “Motion”), seeking adjournment of the Status Conference currently set for April 24, 2014 at

     9:30 a.m. and resetting to April 30, 2014 at 9:30 a.m.; and the Court having determined that the

     relief requested in the Motion is in the best interests of the Debtor, its estate, its creditors, and

     other parties in interest; and it appearing that proper and adequate notice of the Motion has been

     given and that no other or further notice is necessary; and upon the record herein; and after due

     deliberation thereon; and good and sufficient cause appearing therefor, it is hereby




     776280-v1\DALDMS                                                                                    1
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           ORDERED, ADJUDGED AND DECREED that:

           1.    The Motion is GRANTED.

           2.    The Status Conference is hereby adjourned and reset to April 30, 2014 at

 9:30 a.m. (Prevailing Central Time), before the Honorable Stacey G.C. Jernigan, United

 States Bankruptcy Court, Northern District of Texas, 14th Floor, 1100 Commerce Street,

 Dallas, Texas 75252.

           3.    Any interested party may submit a letter brief on the issue of the scope of the

 automatic stay under Japanese bankruptcy law. The brief must be submitted with the Court by

 12:00 p.m. on April 29, 2014.

                                       # # # END OF ORDER # # #

 Prepared and submitted by:

 BAKER & McKENZIE LLP

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 - and –

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 Attorneys for MtGox Co., Ltd., a/k/a MtGox KK


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